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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                     )
         In re:                                                      )      Chapter 11
                                                                     )
         Zohar III, Corp., et al.,1                                  )      Case No. 18-10512 (KBO)
                                                                     )
                                              Debtors.               )      Jointly Administered
                                                                     )

                  NOTICE OF SECOND AMENDED2 AGENDA OF MATTERS SCHEDULED
                    FOR HEARING ON FEBRUARY 19 AND 20, 2020 AT 9:00 A.M. (ET)


         PLEASE NOTE THAT, AT THE DIRECTION OF THE COURT, THE HEARING TIME
                 HAS BEEN CHANGED FROM 10:00 A.M. (ET) TO 9:00 A.M. (ET).


         ADJOURNED/RESOLVED MATTERS

         1.        Motion of Lynn Tilton for Entry of an Order Authorizing Filing of Motion Under Seal
                   [D.I. 1165; 12/20/19]

                   Related Documents:

                   A.        Motion of Lynn Tilton for Approval of Timeline and Guidelines Regarding
                             Monetization of the Group A Portfolio Companies [(SEALED) D.I. 1164;
                             12/20/19; (REDACTED) D.I. 1182; 12/23/19]

                   B.        Notice of Hearing [D.I. 1171; 12/20/19]

                   C.        Order Authorizing Filing of Motion Under Seal [D.I. 1265; 1/13/20]

                   Response Deadline:                        January 3, 2020 at 4:00 p.m. (ET)

                   Responses Received:

                   D.        Informal response from the U.S. Trustee

                   Status:          An order has been entered by the Court. No hearing is required.

         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
         Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
         (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3 Times
         Square, c/o FTI Consulting, Inc. New York, NY 10036.
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             All amendments appear in bold.
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         2.   Debtors’ Motion for Entry of an Order Authorizing Filing of Motion for Order in Aid in
              Implementation of the Settlement Agreement Under Seal [D.I. 1169; 12/20/19]

              Related Documents:

              A.        Debtors’ Motion for Entry of an Order, in Aid of Implementation of the
                        Settlement Agreement and the Settlement Order, Establishing Certain Deadlines,
                        Milestones and Other Parameters in Furtherance of the Monetization Process for
                        the Group A Portfolio Companies [(SEALED) D.I. 1167; 12/20/19;
                        (REDACTED) D.I. 1168; 12/20/19]

              B.        Order Authorizing Filing of Motion for Order in Aid of Implementation of the
                        Settlement Agreement Under Seal [D.I. 1288; 1/17/20]

              Response Deadline:                     January 3, 2020 at 4:00 p.m. (ET)

              Responses Received:

              C.        Informal response from the U.S. Trustee

              Status:          An order has been entered by the Court. No hearing is required.

         MATTERS GOING FORWARD

         3.   Debtors’ Motion for Entry of an Order Authorizing Use of Cash Collateral [D.I. 356;
              7/6/18]

              Related Documents:

              A.        Interim Order Authorizing the Debtors’ Limited Use of Cash Collateral [D.I. 382;
                        7/23/18]

              B.        Second Interim Order Authorizing the Debtors’ Limited Use of Cash Collateral
                        [D.I. 432; 8/22/18]

              C.        Declaration of Caroyln Schiff in Support of Patriarch’s Objection to the Debtors’
                        Motion for Entry of an Order Authorizing Use of Cash Collateral [D.I. 504;
                        10/30/18]

              D.        [SEALED] Declaration of Michael S. Neumeister in Support of Patriarch’s
                        Objection to the Debtors’ Motion for Entry of an Order Authorizing Use of Cash
                        Collateral [(SEALED) D.I. 505; 10/30/18; (REDACTED) D.I. 506; 10/30/18]

              E.        Third Interim Order Authorizing the Debtors’ Limited Use of Cash Collateral
                        [D.I. 516; 11/1/18]

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             F.    Declaration of Gregory M. Petrick in Support of MBIA Insurance Corporation’s
                   Reply to Patriarch’s Objection to Debtors’ Motion for Entry of an Order
                   Authorizing Use of Cash Collateral [(SEALED) D.I. 537; 11/9/18; (REDACTED)
                   D.I. 541; 11/9/18]

             G.    Declaration of Michael Katzenstein in Support of the Debtors’ Reply to
                   Patriarch’s Objection to the Debtors’ Motion for Entry of an Order Authorizing
                   Use of Cash Collateral [D.I. 543; 11/9/18]

             H.    Final Order Under 11 U.S.C. §§ 105, 361, 362, 363 and 507, and Bankruptcy
                   Rules 2002, 4001 and 9014 (I) Authorizing Debtors to Use Cash Collateral; (II)
                   Granting Adequate Protection to Prepetition Secured Parties; (III) Providing
                   Superpriority Administrative Expense Status; (IV) Modifying Automatic Stay;
                   and (V) Granting Related Relief [D.I. 588; 12/10/18]

             I.    Declaration of Gregory M. Petrick in Support of MBIA Insurance Corporation’s
                   Statement in Support of Debtors’ Proposed Order Authorizing the Use of Cash
                   Collateral and Reply to Patriarch’s Objection Thereto [D.I. 1134; 12/17/19]

             J.    Notice of Telephonic Pre-Hearing Conference [D.I. 1146; 12/18/19]

             K.    Interim Order Authorizing the Debtors’ Limited Use of Cash Collateral [D.I.
                   1158; 12/20/19]

             L.    Notice of Hearing Regarding Debtors’ Motion for Entry of an Order Authorizing
                   the Use of Cash Collateral [D.I 1178; 12/23/19]

             M.    Order Setting Hearing Date, Briefing Schedule, and Discovery Deadlines with
                   Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                   Implementation of the Settlement Agreement and the Settlement Order,
                   Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                   of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                   of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                   of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                   [D.I. 1292; 1/21/20]

             Response Deadline:                 December 9, 2019 at 4:00 p.m. (ET)

             Responses Received:

             N.    Reservation of Rights of U.S. Bank National Association, as Indenture Trustee, to
                   Debtors’ Motion for Entry of an Order Authorizing Use of Cash Collateral [D.I.
                   500; 10/30/18]

             O.    Patriarch’s Objection to the Debtors’ Motion for Entry of an Order Authorizing
                   Use of Cash Collateral [(SEALED) D.I. 502; 10/30/18; (REDACTED) D.I. 503;
                   10/30/18]
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             P.     Statement of Blank Rome, on Behalf of Itself and in Respect of Other Zohar I
                    Service Providers, in Response to Patriarch’s Objection to the Debtors’ Motion
                    for Entry of an Order Authorizing Use of Cash Collateral [D.I. 528; 11/7/18]

             Q.     Limited Statement and Response of U.S. Bank National Association, as Indenture
                    Trustee, to Patriarch’s Objection to Debtors’ Motion for Entry of an Order
                    Authorizing Use of Cash Collateral [D.I. 530; 11/7/18]

             R.     MBIA Insurance Corporation’s Statement in Support of Debtors’ Motion for
                    Entry of an Order Authorizing Use of Cash Collateral and Reply to Patriarch’s
                    Objection Thereto [(SEALED) D.I. 536; 11/9/18; REDACTED D.I. 540; 11/9/18]

             S.     Debtors’ Reply to Patriarch’s Objection to the Debtors’ Motion for Entry of an
                    Order Authorizing the Use of Cash Collateral [D.I. 542; 11/9/18]

             T.     Zohar III Controlling Class’ Joinder and Supplemental Response in Support of the
                    Debtors’ Motion for Entry of an Order Authorizing Use of Cash Collateral [D.I.
                    544; 11/9/18]

             U.     Patriarch’s Objection to the Debtors’ Proposed Order Authorizing the Use of
                    Cash Collateral [D.I. 1114; 12/9/19]

             V.     MBIA Insurance Corporation’s Statement in Support of Debtors’ Proposed Order
                    Authorizing the Use of Cash Collateral and Reply to Patriarch’s Objection
                    Thereto [D.I. 1132; 12/17/19]

             W.     The Debtors’ Reply to Patriarch’s Objection to the Debtors’ Proposed Order
                    Authorizing the Use of Cash Collateral [D.I. 1133; 12/17/19] and Notice of Errata
                    Regarding the Debtors’ Reply to Patriarch’s Objection to the Debtors’ Proposed
                    Order Authorizing the Use of Cash Collateral [D.I. 1140; 12/17/19]

             X.     Zohar III Controlling Class’ Joinder and Supplemental Response in Support of
                    Debtors’ Proposed Order Authorizing the Use of Cash Collateral [D.I. 1135;
                    12/17/19]

             Y.     Limited Response of U.S. Bank National Association, as Indenture Trustee, to
                    Patriarch’s Objection to the Debtors’ Proposed Order Authorizing the Use of
                    Cash Collateral [D.I. 1139; 12/17/19]

             Z.     Informal comments from the U.S. Trustee

             Additional Documents:

             AA.    Certification of Counsel Regarding Stipulated Amended Scheduling Order With
                    Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                    Implementation of the Settlement Agreement and the Settlement Order,
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                            Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                            of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                            of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                            of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                            [D.I. 1409; 2/14/20]

                  BB.       Stipulated Amended Scheduling Order With Respect to: (I) the Debtors'
                            Motion for Entry of an Order, in Aid of Implementation of the Settlement
                            Agreement and the Settlement Order, Establishing Certain Deadlines,
                            Milestones and Other Parameters in Furtherance of the Monetization
                            Process for the Group A Portfolio Companies; (II) the Motion of Lynn Tilton
                            for Approval of Timeline and Guidelines Regarding Monetization of the
                            Group A Portfolio Companies; and (III) Certain Other Contested Matters
                            [D.I. 1412; 2/14/20]

                  Status:          This matter is going forward.

             4.   Application of the Debtors, Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P.
                  2014 and 5002, and Del. Bankr. L.R. 2014-1 and 2016-2(h), for Entry of an Order (I)
                  Authorizing Employment and Retention of Houlihan Lokey Capital, Inc. as Financial
                  Advisor and Investment Banker for the Debtors, Nunc Pro Tunc to December 1, 2019,
                  (II) Modifying Certain Information Requirements of Del. Bankr. L.R. 2016-2 and (III)
                  Granting Related Relief [D.I. 1112; 12/6/19]

                  Related Documents:

                  A.        Order Setting Hearing Date, Briefing Schedule, and Discovery Deadlines with
                            Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                            Implementation of the Settlement Agreement and the Settlement Order,
                            Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                            of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                            of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                            of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                            [D.I. 1292; 1/21/20]

                  B.        Supplemental Declaration of P. Eric Siegert in Support of the Application of the
                            Debtors, Pursuant to 11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014 and
                            5002, and Del. Bankr. L.R. 2014-1 and 2016-2(h), for Entry of an Order (I)
                            Authorizing Employment and Retention of Houlihan Lokey Capital, Inc. as
                            Financial Advisor and Investment Banker for the Debtors, Nunc Pro Tunc to
                            December 1, 2019, (II) Modifying Certain Information Requirements of Del.
                            Bankr. L.R. 2016-2 and (III) Granting Related Relief [D.I. 1112; 12/6/19 [D.I.
                            1407; 2/13/20]

                  C.        Certification of Counsel Regarding Proposed Order, Pursuant to 11 U.S.C. §§
                            327(a) and 328(a), Fed. R. Bankr. P. 2014 and 5002, and Del. Bankr. L.R. 2014-1
                            and 2016-2(h) (I) Authorizing Employment and Retention of Houlihan Lokey
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                   Capital, Inc. as Financial Advisor and Investment Banker for the Debtors, Nunc
                   Pro Tunc to December 1, 2019, (II) Modifying Certain Information Requirements
                   of Del. Bankr. L.R. 2016-2 and (III) Granting Related Relief [D.I. 1408; 2/13/20]

             Response Deadline:                 December 20, 2019 at 4:00 p.m. (ET); Extended to
                                                January 10, 2020 for Patriarch and U.S. Trustee

             Responses Received:

             D.    Patriarch’s Objection to Application of the Debtors, Pursuant to 11 U.S.C. §§
                   327(a) and 328(a), Fed. R. Bankr. P. 2014 and 5002, and Del. Bankr. L.R. 2014-1
                   and 2016-2(h), for Entry of an Order (I) Authorizing Employment and Retention
                   of Houlihan Lokey Capital, Inc. as Financial Advisor and Investment Banker for
                   the Debtors, Nunc Pro Tunc to December 1, 2019, (II) Modifying Certain
                   Information Requirements of Del. Bankr. L.R. 2016-2 and (III) Granting Related
                   Relief [D.I. 1254; 1/10/20]

             E.    Debtors’ Reply to Patriarch’s Objection to Application of the Debtors, Pursuant to
                   11 U.S.C. §§ 327(a) and 328(a), Fed. R. Bankr. P. 2014 and 5002, and Del.
                   Bankr. L.R. 2014-1 and 2016-2(h), for Entry of an Order (I) Authorizing
                   Employment and Retention of Houlihan Lokey Capital, Inc. as Financial Advisor
                   and Investment Banker for the Debtors, Nunc Pro Tunc to December 1, 2019, (II)
                   Modifying Certain Information Requirements of Del. Bankr. L.R. 2016-2 and (III)
                   Granting Related Relief [D.I. 1334; 1/24/20]

             F.    Informal response from the U.S. Trustee

             Additional Documents:

             G.    Certification of Counsel Regarding Stipulated Amended Scheduling Order With
                   Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                   Implementation of the Settlement Agreement and the Settlement Order,
                   Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                   of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                   of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                   of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                   [D.I. 1409; 2/14/20]

             H.    Stipulated Amended Scheduling Order With Respect to: (I) the Debtors'
                   Motion for Entry of an Order, in Aid of Implementation of the Settlement
                   Agreement and the Settlement Order, Establishing Certain Deadlines,
                   Milestones and Other Parameters in Furtherance of the Monetization
                   Process for the Group A Portfolio Companies; (II) the Motion of Lynn Tilton
                   for Approval of Timeline and Guidelines Regarding Monetization of the
                   Group A Portfolio Companies; and (III) Certain Other Contested Matters
                   [D.I. 1412; 2/14/20]

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              Status:          The informal response listed at Item F has been resolved pursuant to a
                               revised form of order submitted under cortication of counsel. This matter
                               is going forward with respect to the response listed at Item D.

         5.   Motion of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
              of the Group A Portfolio Companies [(SEALED) D.I. 1164; 12/20/19; (REDACTED)
              D.I. 1182; 12/23/19]

              Related Documents:

              A.        Notice of Hearing [D.I. 1170; 12/20/19]

              B.        The Debtors’ Request for Emergency Telephonic Scheduling Conference [D.I.
                        1202; 1/2/20]

              C.        Notice of Telephonic Status Conference [D.I. 1204; 1/2/20]

              D.        Order Authorizing Filing of Motion Under Seal [D.I. 1265; 1/13/20]

              E.        Order Setting Hearing Date, Briefing Schedule, and Discovery Deadlines with
                        Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                        Implementation of the Settlement Agreement and the Settlement Order,
                        Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                        of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                        of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                        of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                        [D.I. 1292; 1/21/20]

              F.        Order Granting Motion of MBIA Insurance Corporation for an Order to File
                        Under Seal Its Statement in Support of Debtors' Preliminary Objection to the
                        Motion of Lynn Tilton for Approval of Timeline and Guidelines Regarding
                        Monetization of the Group A Portfolio Companies [D.I. 1310; 1/23/20]

              G.        Order Authorizing Filing of Independent Director's Preliminary Objection to
                        Motion of Lynn Tilton for Approval of Timeline and Guidelines Regarding
                        Monetization of Group A Portfolio Companies Under Seal [D.I. 1318; 1/23/20]

              H.        Motion of Lynn Tilton for Entry of an Order Authorizing Filing of Reply Under
                        Seal [D.I. 1329; 1/24/20]

              I.        Debtors' Motion for Entry of an Order Authorizing the Debtors to File Under Seal
                        Certain Portions of the Debtors' Reply in Support of the Debtors' Motion for Entry
                        of an Order, in Aid of Implementation of the Settlement Agreement and the
                        Settlement Order, Establishing Certain Deadlines, Milestones and Other
                        Parameters in Furtherance of the Monetization Process for the Group A Portfolio
                        Companies [D.I. 1332; 1/24/20]

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             J.    Order Authorizing Filing of the Debtors' Motion for Entry of an Order
                   Authorizing Filing of Preliminary Objection Under Seal [D.I. 1343; 1/27/20]

             K.    Order Granting the Motion of Zohar III Controlling Class to Seal Statement and
                   Response of Zohar III Controlling Class in Response to Motions Seeking
                   Monetization Procedures Filed by Debtor and Patriarch [D.I. 1345; 1/27/20]

             Response Deadline:                 January 7, 2020 at 4:00 p.m. (ET)

             Responses Received:

             L.    Preliminary Statement and Response of Zohar III Controlling Class in Response
                   to Motions Seeking Monetization Procedures Filed by Debtors and Patriarch
                   [(SEALED) D.I. 1228; 1/7/20; (REDACTED) D.I. 1258; 1/10/20]

             M.    Debtors' Preliminary Objection to Motion of Lynn Tilton for Approval of
                   Timeline and Guidelines Regarding Monetization of the Group A Portfolio
                   Companies [(SEALED) D.I. 1229; 1/7/20; (REDACTED) D.I. 1250; 1/10/20]

             N.    MBIA Insurance Corporation's Statement in Support of Debtors' Preliminary
                   Objection to Motion of Lynn Tilton for Approval of Timeline and Guidelines
                   Regarding Monetization of the Group A Portfolio Companies [(SEALED) D.I.
                   1232; 1/7/20; (REDACTED) D.I. 1256; 1/10/20]

             O.    Independent Director's Preliminary Objection to Motion of Lynn Tilton for
                   Approval of Timeline and Guidelines Regarding Monetization of the Group A
                   Portfolio Companies [(SEALED) D.I. 1236; 1/7/20; (REDACTED) D.I. 1235;
                   1/7/20]

             P.    Lynn Titlon’s Reply in Support of Motion for Approval of Timeline and
                   Guidelines Regarding Monetization of the Group A Portfolio Companies
                   [(SEALED D.I. 1330; 1/24/20; (REDACTED) D.I. 1379; 2/5/20]

             Q.    Supplemental Response of Zohar III Controlling Class to Motions Seeking
                   Monetization Procedures Filed by Debtors and Patriarch [D.I. 1354; 1/29/20]

             Additional Documents:

             R.    Certification of Counsel Regarding Stipulated Amended Scheduling Order With
                   Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                   Implementation of the Settlement Agreement and the Settlement Order,
                   Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                   of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                   of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                   of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                   [D.I. 1409; 2/14/20]

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              S.        Stipulated Amended Scheduling Order With Respect to: (I) the Debtors'
                        Motion for Entry of an Order, in Aid of Implementation of the Settlement
                        Agreement and the Settlement Order, Establishing Certain Deadlines,
                        Milestones and Other Parameters in Furtherance of the Monetization
                        Process for the Group A Portfolio Companies; (II) the Motion of Lynn Tilton
                        for Approval of Timeline and Guidelines Regarding Monetization of the
                        Group A Portfolio Companies; and (III) Certain Other Contested Matters
                        [D.I. 1412; 2/14/20]

              Status:          This matter is going forward.

         6.   Debtors’ Motion for Entry of an Order, in Aid of Implementation of the Settlement
              Agreement and the Settlement Order, Establishing Certain Deadlines, Milestones and
              Other Parameters in Furtherance of the Monetization Process for the Group A Portfolio
              Companies [(SEALED) D.I. 1167; 12/20/19; (REDACTED) D.I. 1168; 12/20/19]

              Related Documents:

              A.        Notice of Partial Withdrawal [D.I. 1184; 12/26/19]

              B.        The Debtors’ Request for Emergency Telephonic Scheduling Conference [D.I.
                        1202; 1/2/20]

              C.        Notice of Telephonic Status Conference [D.I. 1204; 1/2/20]

              D.        Motion of Patriarch for Entry of an Order Authorizing Filing of Objection Under
                        Seal [D.I. 1226; 1/7/20]

              E.        Order Authorizing Filing of Motion for Order in Aid of Implementation of the
                        Settlement Agreement Under Seal [D.I. 1288; 1/17/20]

              F.        Order Setting Hearing Date, Briefing Schedule, and Discovery Deadlines with
                        Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                        Implementation of the Settlement Agreement and the Settlement Order,
                        Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                        of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                        of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                        of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                        [D.I. 1292; 1/21/20]

              G.        Debtors' Motion for Entry of an Order Authorizing the Debtors to File Under Seal
                        Certain Portions of the Debtors' Reply in Support of the Debtors' Motion for Entry
                        of an Order, in Aid of Implementation of the Settlement Agreement and the
                        Settlement Order, Establishing Certain Deadlines, Milestones and Other
                        Parameters in Furtherance of the Monetization Process for the Group A Portfolio
                        Companies [D.I. 1332; 1/24/20]

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             H.     Motion of MBIA Insurance Corporation for an Order to File Under Seal Its
                    Statement of MBIA Insurance Corporation in Support of the Debtors' Reply in
                    Support of the Debtors' Motion for Entry of an Order, in Aid of Implementation
                    of the Settlement Agreement and the Settlement Order, Establishing Certain
                    Deadlines, Milestones and Other Parameters in Furtherance of the Monetization
                    Process for the Group A Portfolio Companies [D.I. 1338; 1/24/20]

             I.     Order Granting the Motion of Zohar III Controlling Class to Seal Statement and
                    Response of Zohar III Controlling Class in Response to Motions Seeking
                    Monetization Procedures Filed by Debtor and Patriarch [D.I. 1345; 1/27/20]

             Response Deadline:                  January 7, 2020 at 4:00 p.m. (ET)

             Responses Received:

             J.     Patriarch's Objection to Debtors' Motion For Entry of an Order, in Aid of
                    Implementation of the Settlement Agreement and the Settlement Order,
                    Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                    of the Monetization Process For the Group A Portfolio Companies [(SEALED)
                    D.I. 1227; 1/7/20; (REDCATED) D.I. 1253; 1/10/20]

             K.     Preliminary Statement and Response of Zohar III Controlling Class in Response
                    to Motions Seeking Monetization Procedures Filed by Debtors and Patriarch
                    [(SEALED) D.I. 1228; 1/7/20; (REDACTED) D.I. 1258; 1/10/20]

             L.     Debtors' and Independent Director's Reply in Support of the Debtors' Motion for
                    Entry of an Order, in Aid of Implementation of the Settlement Agreement and the
                    Settlement Order, Establishing Certain Deadlines, Milestones and Other
                    Parameters in Furtherance of the Monetization Process for the Group A Portfolio
                    Companies [(SEALED) D.I. 1331; 1/24/20; (REDACTED) D.I. 1369; 2/4/20]

             M.     Statement of MBIA Insurance Corporation in Support of the Debtors' Reply in
                    Support of the Debtors' Motion for Entry of an Order, in Aid of Implementation
                    of the Settlement Agreement and the Settlement Order, Establishing Certain
                    Deadlines, Milestones and Other Parameters in Furtherance of the Monetization
                    Process for the Group A Portfolio [D.I. 1336; 1/24/20]

             N.     Supplemental Response of Zohar III Controlling Class to Motions Seeking
                    Monetization Procedures Filed by Debtors and Patriarch [D.I. 1354; 1/29/20]

             Additional Documents:




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              M.        Certification of Counsel Regarding Stipulated Amended Scheduling Order With
                        Respect to: (I) the Debtors' Motion for Entry of an Order, in Aid of
                        Implementation of the Settlement Agreement and the Settlement Order,
                        Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                        of the Monetization Process for the Group A Portfolio Companies; (II) the Motion
                        of Lynn Tilton for Approval of Timeline and Guidelines Regarding Monetization
                        of the Group A Portfolio Companies; and (III) Certain Other Contested Matters
                        [D.I. 1409; 2/14/20]

              N.        Stipulated Amended Scheduling Order With Respect to: (I) the Debtors'
                        Motion for Entry of an Order, in Aid of Implementation of the Settlement
                        Agreement and the Settlement Order, Establishing Certain Deadlines,
                        Milestones and Other Parameters in Furtherance of the Monetization
                        Process for the Group A Portfolio Companies; (II) the Motion of Lynn Tilton
                        for Approval of Timeline and Guidelines Regarding Monetization of the
                        Group A Portfolio Companies; and (III) Certain Other Contested Matters
                        [D.I. 1412; 2/14/20]

              O.        Certification of Counsel Regarding Revised Proposed Order, in Aid of
                        Implementation of the Settlement Agreement and the Settlement Order,
                        Establishing Certain Deadlines, Milestones and Other Parameters in
                        Furtherance of the Monetization Process for the Group A Portfolio
                        Companies [(SEALED) D.I. 1429; 2/18/20; (REDACTED) D.I. 1430; 2/18/20]

              Status:          This matter is going forward.

         7.   Motion of Patriarch for Entry of an Order Authorizing Filing of Objection Under Seal
              [D.I. 1226; 1/7/20]

              Related Documents:

              A.        Patriarch's Objection to Debtors' Motion For Entry of an Order, in Aid of
                        Implementation of the Settlement Agreement and the Settlement Order,
                        Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance
                        of the Monetization Process For the Group A Portfolio Companies [(SEALED)
                        D.I. 1227; 1/7/20; (REDCATED) D.I. 1253; 1/10/20]

              B.        Notice of Hearing [D.I. 1348; 1/27/20]

              Response Deadline:                     February 12, 2020 at 4:00 p.m. (ET)

              Responses Received:

              C.        Informal response from the U.S. Trustee

              Additional Documents:

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              D.        Certification of Counsel Regarding Order Authorizing Filing of Motion
                        Under Seal [D.I. 1422; 2/18/20]

              Status:          A revised form of order has been submitted under certification of
                               counsel. No hearing is required unless the Court has questions or
                               concerns.

         8.   Debtors’ Motion for Entry of an Order Authorizing Filing of Portfolio Company Credit
              Agreement Under Seal [D.I. 1315; 1/23/20]

              Related Documents:

              A.        Notice of Filing of Portfolio Credit Agreement [(SEALED) D.I. 1314; 1/23/20]

              Response Deadline:                    February 6, 2020 at 4:00 p.m. (ET)

              Responses Received:

              B.        Informal response from the U.S. Trustee

              Additional Documents:

              C.        Certification of Counsel Regarding Proposed Order Authorizing Filing of
                        Portfolio Company Credit Agreement Under Seal [D.I. 1427; 2/18/20]

              Status:          A revised form of order has been submitted under certification of
                               counsel. No hearing is required unless the Court has questions or
                               concerns.

         9.   Motion of Lynn Tilton for Entry of an Order Authorizing Filing of Reply Under Seal
              [D.I. 1329; 1/24/20]

              Related Documents:

              A.        Lynn Titlon’s Reply in Support of Motion for Approval of Timeline and
                        Guidelines Regarding Monetization of the Group A Portfolio Companies
                        [(SEALED D.I. 1330; 1/24/20; (REDACTED) D.I. 1379; 2/5/20]

              Response Deadline:                    February 12, 2020 at 4:00 p.m. (ET)

              Responses Received:

              B.        Informal response from the U.S. Trustee

              Additional Documents:

              C.        Certification of Counsel Regarding Order Authorizing Filing of Motion
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                         Under Seal [D.I. 1423; 2/18/20]

               Status:          A revised form of order has been submitted under certification of
                                counsel. No hearing is required unless the Court has questions or
                                concerns.

         10.   Debtors' Motion for Entry of an Order Authorizing the Debtors to File Under Seal
               Certain Portions of the Debtors' Reply in Support of the Debtors' Motion for Entry of an
               Order, in Aid of Implementation of the Settlement Agreement and the Settlement Order,
               Establishing Certain Deadlines, Milestones and Other Parameters in Furtherance of the
               Monetization Process for the Group A Portfolio Companies [D.I. 1332; 1/24/20]

               Related Documents:

               A.        Debtors' and Independent Director's Reply in Support of the Debtors' Motion for
                         Entry of an Order, in Aid of Implementation of the Settlement Agreement and the
                         Settlement Order, Establishing Certain Deadlines, Milestones and Other
                         Parameters in Furtherance of the Monetization Process for the Group A Portfolio
                         Companies [(SEALED) D.I. 1331; 1/24/20; (REDACTED) D.I. 1369; 2/4/20]

               Response Deadline:                    February 7, 2020 at 4:00 p.m. (ET)

               Responses Received:

               B.        Informal response from the U.S. Trustee

               Additional Documents:

               C.        Certification of Counsel Regarding Proposed Order Authorizing the Debtors
                         to File Under Seal Certain Portions of the Debtors' Reply in Support of the
                         Debtors' Motion for Entry of an Order, in Aid of Implementation of the
                         Settlement Agreement and the Settlement Order, Establishing Certain
                         Deadlines, Milestones and Other Parameters in Furtherance of the
                         Monetization Process for the Group A Portfolio Companies [D.I. 1425;
                         2/18/20

               Status:          A revised form of order has been submitted under certification of
                                counsel. No hearing is required unless the Court has questions or
                                concerns.

         11.   Motion of Patriarch for Entry of an Order Authorizing Filing of Omnibus Motion Under
               Seal [D.I. 1360; 1/30/20]

               Related Documents:

               A.        Patriarch’s Omnibius Motion with Respect ot Open Discovery and Pre-Trial
                         Issues for Hearings on February 19 and 20, 2020 [(SEALED) D.I. 1361; 1/30/20;
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                             (REDACTED) D.I. 1381; 2/5/20]

                   Response Deadline:                     February 12, 2020 at 4:00 p.m. (ET)

                   Responses Received:

                   B.        Informal response from the U.S. Trustee

                   Additional Documents:

                   C.        Certification of Counsel Regarding Order Authorizing Filing of Motion
                             Under Seal [D.I. 1424; 2/18/20]

                   Status:          A revised form of order has been submitted under certification of
                                    counsel. No hearing is required unless the Court has questions or
                                    concerns.

             12.   Joint Motion of the Debtors and Independent Director for Entry of an Order Authorizing
                   Filing of Objection to Patriarch's Omnibus Motion with Respect to Open Discovery and
                   Pre-Trial Issues for Hearings on February 19 and 20, 2020 Under Seal [D.I. 1373; 2/5/20]

                   Related Documents:

                   A.        Joint Objection of the Debtors and Independent Director to Patriarch's Omnibus
                             Motion With Respect to Open Discovery and Pre-Trial Issues for Hearings on
                             February 19 and 20, 2020 [(SEALED) D.I. 1371; 2/5/20; (REDACTED) D.I.
                             1421; 2/17/20]

                   Response Deadline:                     N/A

                   Responses Received:

                   B.        Informal response from the U.S. Trustee

                   Additional Documents:

                   C.        Certification of Counsel Regarding Proposed Order Authorizing Filing of
                             Objection to Patriarch's Omnibus Motion with Respect to Open Discovery
                             and Pre-Trial Issues for Hearings on February 19 and 20, 2020 Under Seal
                             [D.I. 1428; 2/18/20]

                   Status:          A revised form of order has been submitted under certification of
                                    counsel. No hearing is required unless the Court has questions or
                                    concerns.

         13.       Motion of Patriarch for Entry of an Order Authorizing Filing of Opposition Under Seal
                   [D.I. 1376; 2/5/20]
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                   Related Documents:

                   A.        Patriarch's Opposition to Debtors' Motion (I) to Preclude Discovery and
                             Introduction of Protected Mediation Information and (II) to Strike Certain
                             Portions of Lynn Tilton's Monetization Motion and Objection [(SEALED) D.I.
                             1372; 2/5/20]

                   Response Deadline:                      February 12, 2020 at 4:00 p.m. (ET)

                   Responses Received:

                   B.        Informal response from the U.S. Trustee

                   Status:          Patriarch has advised the Debtors that they are working with the U.S.
                                    Trustee to resolve its response and anticipate filing a revised form of order
                                    under certification of counsel.

             14.   Motion Of Lynn Tilton And The Patriarch Stakeholders For Order To Seal The
                   Courtroom During The Presentation Of Confidential Information At The Motions
                   Hearings Scheduled To Begin February 19, 2020 [D.I. 1415; 2/16/20]

                   Related Documents:                      None

                   Response Deadline:                      February 19, 2020 at 10:00 a.m. (ET)

                   Responses Received:                     None as of this date

                   Status:          This matter is going forward.




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         Dated: February 18, 2020      YOUNG CONAWAY STARGATT & TAYLOR, LLP
                Wilmington, Delaware
                                       /s/ Shane M. Reil
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                                       Robert S. Brady (No. 2847)
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                                       Counsel to the Debtors and Debtors in Possession




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